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                      UNITED STATES DISTRICT COURT
                                 FOR THE
                        DISTRICT OF MASSACHUSETTS


    CONSUME, ET AL,                )
                        Plaintiffs,)
                                   )
    -V-                            )        CIVIL DOCKET NO.
                                   )        01-12257-PBS
    ABBOTT LABORATORIES, ET AL,    )
                                   )
                        Defendants.)


                             MOTION HEARING
                BEFORE THE HONORABLE MARIANNE B. BOWLER
                     UNITED STATES MAGISTRATE JUDGE

                                 January 31, 2008
                                 Boston, Massachusetts




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    Proceedings recorded by electronic sound recording,
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 1               THE COURT:     All right.   All Government counsel can

 2   sit at the table --s.
 3               MS. BROOKER:     Thank you.    I'll move down.
 4               THE COURT:     Okay, the next is Abbott's motion

 5   4692, a motion for protective order.         Mr. Daly?
 6               MR. DALY:     Your Honor, I wanted to make a
 7   suggestion, if it please the Court.        We have a series of

 8   three motions.    All of them are apex deposition motions.

 9               If it's all right with the Court, I'd like --

10   because the facts and the law are the same--
11               THE COURT:     4692, 4774 and 4781.
12               MR. DALY:     That's right, Judge; keep them
13   together?    Thank you.
14               Judge, with respect to these motions -- with

15   respect to Mr. White, there's nothing new.         What you've seen

16   in the prior briefing that we looked at in May is the same.

17   They've come up with nothing additional.

18               With respect to the other three former executives,

19   we believe that they haven't met their burden to show unique

20   and superior knowledge with respect to these people.             In

21   fact, each of them has filed an affidavit, which is part of

22   our briefs, that denies personal knowledge of -- or superior

23   knowledge of any of the subjects.         And with respect to some

24   of them, they say they've never even heard of those topics

25   before, let alone have any knowledge about it.


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 1              Another thing that has happened since this

 2   briefing was done, and they're done at different time
 3   periods all sort of ending by early November, or so, the
 4   Government has also -- and then the Plaintiff has generally

 5   had noticed that a lot of depositions we heard about, you
 6   know, 39, 40, 50 today.
 7              The other key thing that I'll talk about, because

 8   it relates to each of the individual questions that they ask

 9   is -- another thing that they've done is they requested 13

10   of 30(b)(6) topics, which pretty much capture all of the
11   topics that they are seeking from these witnesses.
12              And, in fact, if I may -- if I may hand out a copy
13   of a letter from counsel to the Government -- it basically
14   lists the topics.     I may refer to that if we go into the

15   particulars of any individual witness.

16              But, essentially, they have now given us 30(b)(6)

17   topics on the topics that they're seeking from these senior

18   executives.    We are in the process of negotiating some of

19   them.

20              For some of them, we've already agreed to put up a

21   witness.   For some of them, as we get into the particulars,

22   we've already agreed that we're -- that Abbott is going to

23   submit an affidavit to capture some of the issues.

24              So, in terms of what they need to do, where

25   there's argument in the briefs about the fact that, first of


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 1   all, you have to show you need the superior knowledge.

 2              And, second of all, you have to show that you've
 3   tried to exhaust and get this information through less
 4   intrusive means.

 5              There's a little bit of a fight in the brief about
 6   whether they're obligated to do that or not.          We think that
 7   the law clearly is that they do.

 8              My point is, they're doing it.        They've now backed

 9   up these requests with 30(b)(6) requests, which are going to

10   go forward in the next several weeks.
11              With respect to Mr. White, he is -- they renewed
12   their motion to depose him.
13              If the Court may recall, we were back here in, I
14   believe, May of '07.     We came in; we had an affidavit from

15   Mr. White that said he had no personal knowledge of pricing

16   and things of that nature.       Such matters were -- he was

17   advised by others who do have day-to-day responsibilities

18   for those things on an as-needed basis, and that anything he

19   knows about allegations and investigations and lawsuits

20   against the company relating to AWP that are part of this

21   case and part of cases around the country, is all

22   information that he has gotten from counsel, and only from

23   counsel, so they would be privileged.

24              So, what the Court ordered at that point in time

25   was, all right, have them answer three written questions.


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 1                So, the Government propounded three written

 2   questions, and they are attached to what, I believe, is
 3   Exhibit C, to our motion.
 4                And all through -- they actually had three

 5   questions with 17 sub-parts.
 6                And we didn't complain about that.       We said,
 7   "Okay, we're going to answer them all."

 8                So, each and every one of the questions, if you

 9   look at Exhibit C, it's all tied to this late 2000 letter

10   from Congressman Pete Stark, that was addressed to
11   Mr. White.
12                Mr. White took a look at the letter; filled out
13   the answers to the questions.       His testimony is, "I don't
14   remember ever seeing this letter until you brought it to me

15   to prepare these written questions that Judge Bowler has

16   ordered me to answer."

17                So, if you look at their questions, I mean, it is

18   absolutely clear that he has answered their questions fully,

19   frankly and completely.

20                They wanted to know, "What do you do when you get

21   it?   What did you think about when you got it?         What did you

22   do after you got it?"

23                All of those answers are, "I don't remember ever

24   seeing this before.

25                So, they had their chance with respect to


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                                                                            112
 1   Mr. White.    And what they do in their brief is say, "Well,

 2   you know, let's -- that was a lawyer.        I mean the lawyers
 3   were involved in that."
 4                I think the Court would be surprised if lawyers

 5   weren't involved.     When a CEO is asked to submit a sworn
 6   affidavit for federal court, I think we'd all be surprised
 7   if there weren't lawyers involved.

 8                So, if they had asked us in Interrogatories, who

 9   was involved, we said, "Mr. White and his counsel."

10                And so they tried to make a big deal, "Oh, well,
11   it was the lawyers who really didn't get answers."
12                I think that's improper to make to make those
13   kinds of accusations.
14                Of course, we were involved in shepherding to

15   questions for Mr. White and having him answer them.              But

16   it's absolutely clear that he has answered these things.

17                And then they throw in some additional topics that

18   -- "Oh, there are other things that we'd like to ask him,

19   too."

20                Well, they had their chance for that back in May.

21   The Court has already ordered they can answer the three.

22   And with respect to the other stuff that ask him, they're

23   covered by the 30(b)(6) depositions that they're about to do

24   as reflected in the letter.

25                So, with respect to Mr. White, I think that to


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 1   verified the answers demonstrate that he has no personal

 2   knowledge.
 3                If you look back at the affidavit we filed in May,
 4   which I have extra copies of it on hand, I'll hand up

 5   afterwards, Judge, he has no personal knowledge of the
 6   general pricing issues that the Government is seeking
 7   information on.

 8                And with respect to his Answers, he has answered.

 9   And there's nothing else to be done on this front.

10                Now, I don't know if you want to go back and forth
11   on each one, Judge.       I'm happy to handle it any way you
12   want.
13                THE COURT:    I think that's the way to do it.
14                MR. DALY:    Okay.

15                THE COURT:    So, I'll hear you.

16                MR. DALY:    Sure.

17                MR. GOBENA:    Thank you, your Honor.

18                I want to start off first by noting that all the

19   witness for which they're seeking protective orders for --

20   these are the executives -- one thing is key to distinguish:

21   There are three former executives, okay, and one current

22   executive.

23                Mr. White, who my brother, Mr. Daly, referred to

24   just now, is the current CEO.

25                There are three other witnesses.      One is a man


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 1   named Thomas Hodgson.      Another man is Duane Burnham.

 2   Another one is Richard Gonzalez.       They are all former
 3   employees.
 4                And, typically, when you look at the apex case

 5   log, dealing with whether or not apex executives should be
 6   deposed, the issues are really to be considered are burden,
 7   harassment and business disruption.

 8                These gentlemen are retired.     None of those

 9   factors are considered there.       In fact, there is no real

10   case law that the defendants have cited that indicate that
11   the type of apex protection they're seeking should be
12   applied to former executives.       There's really no burden
13   there.
14                We believe that--

15                THE COURT:    Being retired doesn't mean that

16   they're not doing something else.

17                MR. GOBENA:    Well, fair enough.    But at the same

18   time, it's not the same kind of consideration.

19                But perhaps more importantly, all four of these

20   individuals are witnesses in this case.        They're not simply

21   apex executives.

22                It's not a situation where you have someone

23   slipping and falling in a chain convenience store and

24   someone is trying to take the deposition related to that

25   slip and fall case, of the CEO of the chain of that


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 1   convenience store.     That's not what's going on here.

 2              This case deals with corporate policies; corporate
 3   policies with respect to pricing, with respect to AWP, with
 4   respect to government reimbursement.

 5              And with respect to all these four individuals,
 6   they have direct involvement in the issues in the case.
 7              I know you want to take the individual people

 8   one-by-one.

 9              Let me address Mr. White first, because that's the

10   one that Mr. Daly addressed.
11              Mr. White is a witness in this case.        He's not
12   simply -- your Honor did order a written deposition to take
13   place -- a written deposition.       What we got back is what
14   Mr. Daly referred to as an affidavit.

15              Basically, the lawyers got together with

16   Mr. White; drafted some answers for him and he signed an

17   affidavit -- a verification.

18              Well, that's not a written deposition; we're not

19   getting candid direct testimony from the witness.          What

20   we're getting are answers that are being filtered through

21   the lawyers and it defeats the purpose of a written

22   deposition and, certainly, try to develop him as an

23   individual and find out from him his knowledge about the

24   facts of this case.

25              I don't want to repeat all the arguments that we


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 1   had last time, but Mr. White has been directly involved in

 2   AWP and drug reimbursement issues for Abbott for a long
 3   time, even as CEO.
 4                In our briefs, we cited numerous instances where

 5   he's made public statements about congressional
 6   investigations where he says that there are abuses in the
 7   AWP drug reimbursement system that need to be addressed.          He

 8   presented himself as an expert on these issues.          That's one.

 9                So, this is someone who has knowledge about the

10   issues, at least, purported to the public, in the guise of
11   defending the company's public image.
12                In addition, there's a key event that we talked
13   about last time.    In 2001, Abbot lowered their prices;
14   effectively wound down the fraud; as we alleged the fraud,

15   anyways.   That's a key event.

16                And there is documentation that we provided to the

17   Court that indicates that one of the impetuses for that was

18   a letter than Congressman Peter Stark sent to Abbott, to

19   Mr. White.    And that led to a corporate decision to lower

20   the prices and effectively end the fraud.         The letter was to

21   Mr. White.

22                It's not simply -- we don't want to simply find

23   out whether Mr. White remembers the letter, but what we want

24   also to explore his perspective on what was laid out in the

25   letter; his role in potentially ending the fraud.          There are


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 1   a variety of issues surrounding that.

 2               So, he's a direct witness in this case.        In
 3   effect, there's a strong likelihood he's going to have to
 4   testify at trial.

 5               The issue here is whether or not the United States
 6   should be precluded in discovery from taking his deposition
 7   prior to his testimony at trial.

 8               And, your Honor, it's an extraordinary remedy to

 9   block a deposition, as you know.       And I don't think that

10   remedy is warranted here, particularly when the solution
11   that you offered last time was inadequate to address the
12   Government's interest in exploring his knowledge of the fact
13   in this case.
14               THE COURT:   Okay, Mr. Daly?

15               MR. DALY:    Your Honor, I think we just heard two

16   subjects:   one, the Abbott 2001 price change and, two, the

17   Stark letter.

18               First of all, as I indicated, Mr. White filed an

19   affidavit on or about -- a written response as to written

20   questions that the Court ordered -- I mean, it's obvious

21   that he gave a written response -- and he swore that he

22   doesn't remember seeing that until it was brought to him to

23   prepare the answers.     That's number one.

24               Number two, with respect to that very issue, that

25   is the subject of the letter from the 30(b)(6) deposition


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 1   from the Government, that they want to take, where -- it's

 2   number three, Judge, in the letter I just handed you, on
 3   page 2.
 4              The distribution in consideration of, and actually

 5   taken with respect to the October 31, 2000 letter, from
 6   Congressman Fortney "Pete" Stark, from miles away.          They've
 7   already covered that.

 8              And, in fact, we've already agreed to give them an

 9   affidavit on that and talked to Mr. Gobena about what that

10   would contain.
11              And so, we're in the process of working on that.
12   That's already covered.
13              The other thing, Counsel indicated is the very
14   next subject, all facts related to the 2001 price change.

15   That's a 30(b)(6) topic that's coming up.

16              By the way, there's been about 80 depositions

17   taken by the Government in this case; I'd say at least 70 of

18   them.

19              They've asked about the Stark letter and the 2001

20   price change list.     It's not as if they don't have testimony

21   on this, but with respect to that, and number four here in

22   the letter, we're giving them, I believe, an affidavit and

23   we're also preparing to put up a witness.

24              So, this is being covered and there is nothing

25   that shows unique and superior, not personal knowledge on


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 1   behalf of Mr. White with respect to any of these things.

 2               And, at least, this process ought to go forward
 3   before anything further were done in that area.
 4               But, I don't think the Government has come close

 5   to meeting their burden here.
 6               THE COURT:    At this time, the motion is allowed as
 7   to White.

 8               MR. DALY:    Thank you.

 9               THE COURT:    All right, as to the others --

10               MR. DALY:    Yes, your Honor.
11               The next individual I wanted to talk about -- and
12   I do want to respond briefly to counsel's discussion of the
13   law -- we cited a variety of cases in briefs, Judge, that
14   indicate that the apex deposition standards do apply to

15   former apex executives.      And what we're talking about here

16   are former -- the former CEO, the former president, the

17   former chief operating officer.       But we're not -- we're

18   talking about people who had important jobs with the

19   company, in a big company.

20               As your Honor pointed out, just because you're

21   retired doesn't mean that they're not busy.

22               And the apex considerations of not having every

23   Fortune 200 companies' former executives dragged into Court

24   for depositions all the time, just because they're retired,

25   the principles of the law applies with equal force to these


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 1   gentlemen.

 2                So, with respect to those gentlemen, I did want to
 3   address the particulars of what they seek with respect to
 4   them.   And that is, the law is the same.

 5                With respect to what we've done, we've attached
 6   their affidavits.
 7                The Government told us, "Here's what we want to

 8   talk to them about."

 9                We went to the witnesses and asked them about it.

10   They each prepared and affidavit saying either, "I've never
11   heard of this," or "I don't recall this," or "The only thing
12   I know about this is what people told me, as they advised me
13   as the senior officer.     Whatever I know is several
14   administrative levels above where the people who actually

15   know what was going on with respect to this issue would be."

16                So, with respect to Mr. Hodgson, he's the first

17   gentleman that I'd like to talk about, he's the former

18   President and Chief Operating Officer of Abbott from 1990 to

19   1999.

20                The questions that they want to talk to him about

21   are marketing and pricing information.

22                He files his affidavit and says, again, "I was way

23   up here.   I would only be told about such things on a

24   need-to-know basis and it would not be any kind of detailed

25   knowledge.    I wasn't involved in day-to-day responsibility


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 1   of setting prices or dealing with marketing or anything like

 2   that.    That wasn't my job.    You'd need to go down several
 3   levels to find somebody to do that."        And, of course, the
 4   Government has already done that.

 5               And, of course, it's also a 30(b)(6) topic in the
 6   letter that you have in front of you.
 7               The second thing is lobbying with respect to

 8   Mr. Hodgson.

 9               Mr. Hodgson says in his affidavit, point blank, "I

10   wouldn't have anything to do with lobbying.         That's nothing
11   I participated in.     I don't recall participating in that
12   area."
13               By the say, the Government as deposed already
14   Abbott's entire Government Affairs office in Washington,

15   which contains all of Abbott's lobbying people.

16               There is another dep of another lobbying person

17   coming up, and lobbying is topics one and two of the

18   30(b)(6) that we're seeking.      And, again, we're giving them

19   an affidavit for part of that, and we're putting up a

20   30(b)(6) witness for that, Cindy Sensival, who will answer

21   some of the questions that they have.

22               So, that issue is -- it should be off the table at

23   this point.

24               The other thing they want to talk about -- with

25   Mr. Hodgson about is Lupron.      I think we kind of swatted


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 1   that issue out of this case.      But they want to talk about

 2   the fact that he was deposed in that case and, you know, if
 3   you read their brief, he knew what AWP stood for.          That's
 4   their first reason for it.      Why not?    He obviously knows

 5   about pricing terms.     Of course, he knows what AWP stands
 6   for.
 7              That doesn't give him unique and superior personal

 8   knowledge that he should be dragged in here to answer a

 9   question like that when there are all kinds of people who

10   can answer those questions.
11              He also sits on the boards of two public
12   companies, your Honor.
13              THE COURT:    Is your argument as to these three:
14   Burnham, Gonzalez and Hodgson, is basically that there are

15   30(b)(6) depositions out there covering all of the materials

16   that are sought.

17              MR. DALY:    Yes, your Honor.

18              THE COURT:    Well, then I am going to allow the

19   three motions at this time.      After all of the 30(b)(6)

20   deponents have been deposed, if there is still a need, I

21   will entertain it, but these three are allowed at this time.

22              MR. GOBENA:    If I may briefly address that point,

23   these 30(b)(6)s are a directive for the corporation to

24   identify its corporate knowledge or position on an issue.

25              These are witnesses that are going to be witnesses


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 1   at trial and we want 30(b)(1) testimony from them, but their

 2   personal knowledge about their personal perspectives on the
 3   issues in the case, I don't believe that the 30 --
 4                THE COURT:    Well, haven't they told you in the

 5   affidavits if they don't have any personal knowledge?
 6                MR. GOBENA:    Well, but affidavits crafted by
 7   lawyers don't necessarily meet the burden of us being able

 8   to explore in detail what they really know.         I mean--

 9                THE COURT:    You are getting into a risky area with

10   an accusation.
11                MR. GOBENA:    Well, I'm not accusing anyone of any
12   wrongdoing.    However, there's a different situation--
13                THE COURT:    That was the tone of that.
14                MR. GOBENA:    Your Honor, if that was a tone, I

15   apologize.

16                My point is that there's a difference between a

17   know-nothing affidavit being submitted, and us having the

18   ability to challenge that know-nothing affidavit with

19   documents, with evidence that we have that have these

20   people's names and information involved with it.          And that's

21   what we have.

22                One of the people, for example, Richard Gonzalez,

23   he was the head of the Hospital Products Division, which is

24   the division whose conduct is at issue here.         He was

25   directly involved in discussions about this 2001 price


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 1   change.   A meeting was held in his office.        We have

 2   documents about a meeting being held there.
 3                A 30(b)(6) is not going to be sufficient, in terms
 4   of Abbott's perspective, for us to explore Mr. Gonzales'

 5   role for example.
 6                THE COURT:   All right, Counsel, I gave a ruling.
 7   I've given you the ability to renew, when you get all of the

 8   30(b)(6) testimony and you feel you still want to pursue

 9   this, I'll entertain it.      But at this time, I think it's

10   premature.
11                MR. DALY:    Your Honor, may I just make a request
12   on these 30(b)(6)s?
13                Your Honor's ruled, and the problem with that, I
14   think that perhaps if we could get a little bit of leeway to

15   add a 30(b)(6) topic, explicitly directed at the knowledge

16   and what, if anything, these individuals did or did not do.

17                Because we're not -- we're talking about a topic

18   here that is an emergening policy; that the CEOs, if they

19   were aware of it, then we should be able to put evidence on

20   in front of a jury that they did nothing about it; they

21   didn't educate themselves about it.        That, in of itself,

22   would be relevant at trial.

23                THE COURT:   Because what you are asking for is

24   something beyond the Order of December 18th.         You have to

25   work with what is out there.


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